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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 IN RE: TASIGNA (NILOTINIB)
 PRODUCTS LIABILITY LITIGATION                        Case No. 6:21-md-03006-RBD-DAB
                                                                        (MDL No. 3006)
 This document relates to all actions.


     JOINT NOTICE OF DISCOVERY STATUS AS OF AUGUST 8, 2022

        Pursuant to Pretrial Order No. 5 (ECF No. 107), Plaintiffs and Defendant

 Novartis Pharmaceuticals Corporation (“NPC”) submit this notice regarding the

 status of discovery.

        To date, thirteen depositions have occurred.1 Additional depositions have

 been scheduled.2

        Regarding NPC’s document production, as noted in the proposed agenda for

 the upcoming status conference, NPC identified a group of custodial documents

 during the privilege log process for which NPC is not claiming privilege. As a result,

 NPC produced an additional 4,588 custodial documents to plaintiffs initially




 1
   Those depositions are NPC employees Karen Habucky (April 28), Reshema Kemps-Polanco
 (July 8), Danielle Roman (July 13), and Paul Manley (July 15), and nine former employees: Leila
 Alland (May 10), Robert Miranda (May 12), Michael Petroutsas (May 13), Neil Gallagher (May
 20), David Domsic (May 25), Laurie Letvak (June 9), Frank Hong (June 30), Philippe Drouet (July
 26), and Katie Chon (Aug. 2).
 2
   Richard D’Addabbo (Sept. 8), Hugh O’Dowd (Sept. 8), Christi Shaw (Sept. 13), Reshema
 Kemps-Polanco (continuation, Sept. 28), Alessandro Riva (Oct. 1), and Jane Vesotsky (Oct. 1).
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 withheld as privileged on August 8, 2022. 3 NPC will also be producing a small

 number of documents initially withheld as privileged that it is no longer claiming as

 privileged from custodians based in Switzerland.

        Plaintiffs were unaware they would be receiving this document production at

 this late stage in fact discovery until this issue was identified in the agenda filed on

 August 1, 2022. Importantly, Plaintiffs were never informed prior to moving forward

 with the depositions of the witnesses taken to date that some of their documents were

 still undergoing privilege review. Plaintiffs will begin their review of this production

 with haste, but note that, depending on its content, additional depositions of new

 witnesses and/or continued depositions of prior witnesses may be necessary.

        Also, as noted in the proposed agenda regarding the production of

 anonymized raw data, there is an issue with the raw data with a phase IV study

 located in Brazil (CAMN107ABR03). The data from this study is not in NPC’s

 possession, custody, or control. On August 5, 2022, NPC sent a letter informing

 plaintiffs that it did not have the raw dataset for this study. CAMN107ABR03 closed

 in 2012 and was conducted outside of the United States in Brazil by a third-party,

 clinical research organization that is no longer in business. After the Court’s ruling

 in March, NPC contacted a Novartis affiliate in Brazil, Novartis Biociencias S.A.,



 3
  NPC produced full families with the 4,588 documents initially withheld as privileged, including
 10,445 documents previously produced.
                                                2
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 to obtain the raw dataset for this local Brazil study. The affiliate was unable to locate

 the raw dataset after an extensive search of its electronic and physical storage at the

 Brazil office, and an off-site storage facility operated by a third-party vendor. NPC

 was able to locate and produce the statistical analysis reports for the Brazilian study.

 NPC has not received a response from plaintiffs to its August 5, 2022 letter.




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 Dated: August 8, 2022                  Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

       I certify that on this 8th day of August 2022, I electronically filed the

 foregoing document with the Clerk of the Court by using the CM/ECF system,

 causing all counsel of record be served by electronic means.


                                       /s/ Robert E. Johnston
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                                       Novartis Pharmaceuticals Corporation




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